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1    Yong Bom Lee (SBN 213860)
     Hyong C. Kim (SBN 231034)
2
     LEE & ASSOCIATES. LAW OFFICE, APC
3    3530 Wilshire Blvd., Suite 1280
     Los Angeles, California 90010
4    Tel. No. (213) 368-7717, Fax No. (213) 368-7718
5
     Attorneys for Debtor/Defendant
6    SEUNG HWAN JEONG
7                          UNITED STATES BANKRUPTCY COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9                                     SANTA ANA DIVISION
10   In re                                 )          Case No.. 8:18-bk-12033-ES
11
                                           )
     SEUNG HWAN JEONG,                     )          Chapter 7
12                                         )
                                           )          Adv. Case No.: 8:18-ap-01169-ES
13                           Debtor,       )
     _____________________________________ )          DEBTOR/DEFENDANT SEUNG HWAN
14   JIN REE, an Individual,               )          JEONG’S NOTICE OF MOTION AND
15                                         )          MOTION TO DISMISS ADVERSARY
                             Plaintiff,    )          COMPLIANT FILED BY JIN REE;
16   vs.                                   )          MEMORANDUM OF POINTS AND
17                                         )          AUTHORITIES; DECLARATION OF
     SEUNG HWAN JEONG; and DOES 1          )          YONG BOM LEE RE MEET AND
18   through 10, inclusive,                )          CONFER
                                           )          (F.R.C.P. 12 (b)(6), F.R.B.P. 7012)
19                           Defendants    )
20                                         )          Date: December 20, 2018
                                           )          Time: 02:00 p.m.
21                                         )          Courtroom: 5A
                                           )          Before Hon. Eithe A. Smith
22

23           NOTICE OF MOTION TO DISMISS ADVERSARY COMPLAINT
24
              Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made
25
     applicable to this adversary proceeding by Rule 7012 of the Federal Rules of
26

27   Bankruptcy Procedure, and for the reasons set forth in the accompanying
28
     memorandum of law (the “Memorandum”) in support of this motion (the “Motion


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1    to Dismiss”), Defendant SEUNG HWAN JEONG, hereby respectfully moves this
2
     Court for entry of an order substantially in the form attached hereto dismissing
3

4    the Plaintiff’s Adversary Complaint with prejudice.
5
           Pursuant to Del. Bankr. L.R. 7012-1, Defendant consents to the entry of
6

7    final orders or judgments by the Court if it is determined that the Court, absent
8
     consent of the parties, cannot enter final orders or judgments consistent with
9
     Article III of the United States Constitution.
10

11         WHEREFORE, the Defendant respectfully requests that this Court enter an
12
     order in substantially the form attached hereto and grant such further relief as the
13

14   Court may deem necessary or proper.
15

16

17
     Dated: October 11, 2018                 Lee & Associates, Law Office, APC

18
                                             By: /s/____________________________
19                                           Yong Bom Lee, Hyong C. Kim
20                                           Attorneys for Defendant,
                                             Seung Hwan Jeong
21

22

23

24

25

26

27

28




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1    TO THE HONORABLE ERITHE A. SMITH,
2    UNITED STATES BANKRUPTCY JUDGE:
3
                 MEMORANDUM OF POINTS AND AUTHORITIES
4

5
           SEUNG HWAN JEONG as Debtor (“Defendant” or the “Debtor”)

6    respectfully submit this Motion to Dismiss (the “Motion”) the Adversary
7
     Complaint (the “Complaint”), pursuant to Federal Rule of Civil Procedure
8

9    12(b)(6), made applicable to this adversary proceeding by Federal Rule of
10
     Bankruptcy Procedure 7012. The Complaint was filed on September 7, 2018 by
11

12   JIN REE (the “Plaintiff”). As detailed below, the Complaint should be dismissed
13
     because it fails to state a claim against the Debtor upon which relief can be
14
     granted. A proposed Order is attached hereto as Exhibit A.
15

16                           PRELIMINARY STATEMENT
17
           In his Complaint, the Plaintiff seeks to cause the Court to deny discharge of
18

19   Debtor’s debts, because 1) Plaintiff is a judgment debtor on a state court action
20
     (“State Court Judgment”) where such debt was incurred allegedly by false
21

22
     pretense, fraud, or willful and malicious injury, and 2) Debtor’s petition for

23   bankruptcy (“Bankruptcy Petition”) was based on, again allegedly, false financial
24
     reports. Although a complete review of the material facts would show that there is
25

26   no fraud or misrepresentation, or willfulness, on the State Court Judgment or the
27
     Bankruptcy Petition, there is no need for the Court to undertake this factual
28
     inquiry in this case. The Complaint should be dismissed now because the State

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1    Court Judgment is not based on any fraud or misrepresentation, in fact, it was
2
     simple collection action, and because the truthfulness of the contents in the
3

4    Bankruptcy Petition shall be, and will be, thoroughly examined and determined
5
     by the trustee in the Chapter 7 action.
6

7          Accordingly, the Complaint should be dismissed.
8
                                      BACKGROUND
9
           On June 4, 2018, the Debtor commenced his bankruptcy case by filing
10

11   voluntary petition for relief under chapter 7 of title 11 of the United States Code.
12
     On September 7, 2018, the Plaintiff filed the Adversary Complaint and served
13

14   Debtor’s attorney, even though Debtor’s attorney was not an attorney of record
15
     for an adversary proceeding. Defendant has never been served until this date.
16

17
     (Declaration of Yong Bom Lee [LEE DECL] ¶3)

18         Debtor’s attorney examined the Complaint, and state court records for
19
     BC499476 action after the receipt of the Complaint. It was found that the State
20

21   Court Judgment was a simple collection action for unpaid freight charges, which
22
     was assigned to the Plaintiff. More specifically, the causes of the action were 1)
23

24   breach of contract, 2) common counts, and 3) breach of oral agreement. The
25
     amount sought to be recovered was $124,685.13. The State Court Judgment was
26
     entered by default on July 30, 2013, for the amount of $164,755.13, which
27

28   includes prejudgment interest. There was nothing about fraud, misrepresentation


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1    or willfulness in any allegations, or in the State Court Judgment. (LEE DECL ¶5-
2
     6)
3

4          After concluding that the State Court Judgment was a simple collection
5
     action, Debtor’s counsel sent a letter to the Plaintiff requesting the basis for
6

7    $395,183.00 and basis for “false pretense, misrepresentations, actual fraud,
8
     willfulness or malicious injury” as alleged in Count I and II of the Complaint. The
9
     Plaintiff responded that $395,183.00 was an error, and the State Court Judgment
10

11   was only for $164,755.13. The Plaintiff then has not responded to the basis for
12
     “false pretense, misrepresentations, actual fraud, willfulness or malicious injury.”
13

14   (LEE DECL ¶7)
15
           The Debtor’s attorney also requested the Plaintiff to provide basis for
16

17
     “fraudulent reports of tax and bankruptcy papers”, as alleged in Count III and IV

18   of the Complaint. The Plaintiff responded nothing to this request. (LEE DECL
19
     ¶8)
20

21         Accordingly, there was no supporting evidence of “false pretense,
22
     misrepresentations, actual fraud, willfulness or malicious injury” as alleged in
23

24   Count I and II, and of “fraudulent reports of tax and bankruptcy papers”, as
25
     alleged in Count III and IV of the Complaint.
26
     ///
27

28   ///


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1
                                          ARGUMENT
2
     I. The Complaint Fails to State a Claim Against the Debtor
3

4           Federal Rule of Civil Procedure 12(b)(6), made applicable to this adversary
5
     proceeding by Federal Rule of Bankruptcy Procedure 7012, provides for the
6

7    dismissal of a complaint that “fail[s] to state a claim upon which relief can be
8
     granted.” Fed. R. Bankr. Pro. 7012(b). In considering a motion to dismiss for
9
     failure to state a claim, courts should accept the material facts alleged in the
10

11   complaint as true and construe them in the plaintiff’s favor. See, e.g., Sec.
12
     Investor Prot. Corp. v. Stratton Oakmont, Inc., 234 B.R. 293, 309 (Bankr.
13

14   S.D.N.Y. 1999). However, courts must “disregard legal conclusions, deductions
15
     or opinions couched as factual allegations.” Dow Jones & Co. v. Int’l Sec. Exch.,
16

17
     Inc., 451 F.3d 295, 307-08 (2d Cir. 2006) (“[C]onclusory allegations or legal

18   conclusions masquerading as factual conclusions will not suffice to prevent a
19
     motion to dismiss.”) (citations omitted). In addition, to avoid dismissal, a
20

21   complaint’s “[f]actual allegations must be enough to raise a right to relief above
22
     the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007);
23

24   Ashcroft v. Iqbal, 556 U.S. 662, 667-68 (2009) (“a complaint must contain
25
     sufficient factual matter . . . to ‘state a claim to relief that is plausible on its
26
     face.’”) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. at 570).
27

28




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1          Following the Supreme Court’s decision in Ashcroft v. Iqbal, 556 U.S. 662
2
     (2009), courts use a two-prong approach when considering a motion to dismiss.
3

4    See L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419, 430 (2d Cir. 2011);
5
     Harris v. Coleman, 863 F. Supp. 2d 336, 340 (S.D.N.Y. 2012); Bektic-Marrero v.
6

7    Goldberg, 850 F. Supp. 2d 418, 425 (S.D.N.Y. 2012); King County, Wash. v.
8
     IKB Deutsche Industriebank AG, 863 F. Supp. 2d 288, 297 (S.D.N.Y. 2012),
9
     reh’g denied, 863 F. Supp. 2d 317 (S.D.N.Y. 2012). First, the court must accept
10

11   all factual allegations in the complaint as true, but should ignore legal conclusions
12
     clothed in factual garb. Iqbal, 556 U.S. at 677-79; L-7 Designs, 647 F.3d at 430;
13

14   Boykin v. Keycorp, 521 F.3d 202, 204 (2d Cir. 2008). Second, the court must
15
     determine if these well-pleaded factual allegations state a “plausible claim for
16

17
     relief.” Iqbal, 556 U.S. at 679. The only allegations that may survive a motion to

18   dismiss are those that cross “the line between possibility and plausibility of
19
     entitle[ment] to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)
20

21   (quotations omitted).
22
     A. Plaintiff’s State Court Judgment Claims Should Be Dismissed (Count I
23

24   and II)
25
           11 USC Section 523 (Exception to Discharge) (a) (2) and (6) provides non-
26
     dischargeability of debts created by “false pretenses, a false representation, or
27

28   actual fraud “ or “for willful and malicious injury,” as stated below:


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1          11 U.S. Code § 523 - Exceptions to discharge
2
             (a) A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) of
3    this title does not discharge an individual debtor from any debt—
             (2) for money, property, services, or an extension, renewal, or refinancing
4
     of credit, to the extent obtained by—
5                   (A) false pretenses, a false representation, or actual fraud, other than
6
             a statement respecting the debtor’s or an insider’s financial condition;
                    (B) use of a statement in writing—
7                          (i) that is materially false;
8                          (ii) respecting the debtor’s or an insider’s financial condition;
                           (iii) on which the creditor to whom the debtor is liable for
9
                    such money, property, services, or credit reasonably relied; and
10                         (iv) that the debtor caused to be made or published with intent
11
                    to deceive; or
                    (C)
12                         (i)for purposes of subparagraph (A)—
13                                 (I) consumer debts owed to a single creditor and
                           aggregating more than $500 for luxury goods or services
14
                           incurred by an individual debtor on or within 90 days before
15                         the order for relief under this title are presumed to be
                           nondischargeable; and
16
                                   (II) cash advances aggregating more than $750 that are
17                         extensions of consumer credit under an open end credit plan
18
                           obtained by an individual debtor on or within 70 days before
                           the order for relief under this title, are presumed to be
19
                           nondischargeable; and
20                         (ii)for purposes of this subparagraph—
                                   (I) the terms “consumer”, “credit”, and “open end credit
21
                           plan” have the same meanings as in section 103 of the Truth in
22                         Lending Act; and
23
                                   (II) the term “luxury goods or services” does not
                           include goods or services reasonably necessary for the support
24                         or maintenance of the debtor or a dependent of the debtor;
25           (6) for willful and malicious injury by the debtor to another entity or to the
             property of another entity;
26

27

28




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1          The Plaintiff seeks the State Court Judgment to be non-dischargeable in
2
     Count I and II of the Complaint, based on Section 523 (a) (2) and (6), however,
3

4    the Complaint on its face offers nothing about fraud or willful injury. No where in
5
     the Complaint offers such grounds within Section 523 (a) (2) and (6), but also the
6

7    Plaintiff fails to respond to a reasonable inquiry of the Debtor as to the supporting
8
     evidence of alleged “fraud or willful injury.” (LEE DECL ¶5-8)
9
           Further, the state court actions filed in the Superior Court of County of Los
10

11   Angeles under the case number of BC499476 shows nothing but a simple
12
     collection matter based on the breach of agreements. (LEE DECL ¶6)
13

14         In addition, the amount sought to be non-dischargeable, i.e., $395,183 was
15
     admitted by the Plaintiff to be an error, however, the Plaintiff even refuses to
16

17
     correct this amount. The Plaintiff’s motive and intent are clear here. The Plaintiff

18   does not have any supporting evidence for alleged fraud or willful injury on the
19
     face of the Complaint or anywhere, and the Plaintiff simply filed the Complaint in
20

21   hoping to get some sort of settlement, regardless of the merit of the case. (LEE
22
     DECL ¶7)
23

24         Again, the only allegations that may survive a motion to dismiss are those
25
     that cross “the line between possibility and plausibility of entitle[ment] to relief,”
26
     and in this case, the Plaintiff’s first and second causes of action in Count I and II
27

28




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1    of the Complaint should be dismissed because the amount sought is wrong as
2
     admitted, and because here is no showing of fraud or willful injury.
3

4    B. Plaintiff’s Section 727 (a) Claims Should Be Dismissed (Count III and IV)
5
           11 USC Section 727 (Discharge) (a) (3) and (4) provides non-
6

7    dischargeability of debts, as below:
8
           11 U.S. Code § 727 - Discharge
9
           (a) The court shall grant the debtor a discharge, unless—
10                (3) the debtor has concealed, destroyed, mutilated, falsified, or failed
11         to keep or preserve any recorded information, including books, documents,
           records, and papers, from which the debtor’s financial condition or
12
           business transactions might be ascertained, unless such act or failure
13         to act was justified under all of the circumstances of the case;
                  (4) the debtor knowingly and fraudulently, in or in connection with
14
           the case—
15                       (A) made a false oath or account;
16
                         (B) presented or used a false claim;
                         (C) gave, offered, received, or attempted to obtain money,
17                property, or advantage, or a promise of money, property, or
18                advantage, for acting or forbearing to act; or
                         (D) withheld from an officer of the estate entitled to
19
                  possession under this title, any recorded
20                information, including books, documents, records, and papers,
21
                  relating to the debtor’s property or financial affairs

22         11 USC 727 (c) further provides:
23
           (c) (1) The trustee, a creditor, or the United States trustee may object to the
24
           granting of a discharge under subsection (a) of this section.
25             (2) On request of a party in interest, the court may order the trustee to
           examine the acts and conduct of the debtor to determine whether a ground
26
           exists for denial of discharge.
27

28




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1           The Plaintiff seeks the entire bankruptcy petition to be denied based on 11
2
     USC 727 (a) (3) and (4), alleging that “it is reasonable and plausible facts” or “it
3

4    is plausible and reasonable inference” that Debtor’s most recent income report in
5
     the tax return are false and manipulated figures. This is mere legal conclusion
6

7    couched as factual allegation, which the Courts must “disregard legal
8
     conclusions, deductions or opinions couched as factual allegations.” Dow Jones
9
     & Co. v. Int’l Sec. Exch., Inc., 451 F.3d 295, 307-08 (2d Cir. 2006)
10

11   (“[C]onclusory allegations or legal conclusions masquerading as factual
12
     conclusions will not suffice to prevent a motion to dismiss.”) (citations omitted).
13

14          Further, there is no sufficient factual matter stated in the Complaint, and
15
     more importantly, the Plaintiff has failed to provide any factual matter even after
16

17
     the Debtor’s attorney requested them, if any. Again, to avoid dismissal, a

18   complaint’s “[f]actual allegations must be enough to raise a right to relief above
19
     the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007);
20

21   Ashcroft v. Iqbal, 556 U.S. 662, 667-68 (2009) (“a complaint must contain
22
     sufficient factual matter . . . to ‘state a claim to relief that is plausible on its
23

24   face.’”) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. at 570).
25
            Accordingly, the Plaintiff’s third and fourth causes of action in Count III
26
     and IV of the Complaint should also be dismissed.
27

28   ///


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1
                                        Conclusion
2
           Accordingly, the Debtor respectfully requests that the Court (a) grant the
3

4    Motion and dismiss the Complaint in its entirety with prejudice, or alternatively,
5
     dismiss at least Count I and II of the Complaint ; and (b) grant such other and
6

7    further relief to the Debtors as the Court deems proper. The Debtor is filing a
8
     Motion for Sanction Under Rule 11, concurrently herewith, and the Court is
9
     respectfully requested to grant Rule 11 motion as well.
10

11

12
                                            Respectfully submitted,
13

14   Dated: October 11, 2018                Lee & Associates, Law Office, APC
15
                                            By: /s/____________________________
16
                                            Yong Bom Lee, Hyong C. Kim
17                                          Attorneys for Defendant,
18
                                            Seung Hwan Jeong

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